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et

~ MOTION UNDERI28'U'S'C. § 2255 TQ VACATE, SET ASIDE, OR CORRECT

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SEN TENGE ’BYOA BEAN IN FEDERAL CUSTODY

 

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AO 243 (Rev. 09/17)

 

United States District Court | District Southern District of New York
Name (under which you were convicted): Docket or Case No.:
$2 02 CR 1564

 

 

Louis Daidone

 

 

 

Place of Confinement: Prisoner No.:
U.5.P. Allenwood 39065-053
UNITED STATES OF AMERICA Movant (include name under which convicted)
Vv.

LOULS BDATDONE

 

 

 

MOTION

1. (a) Name and location of court which entered the judgment of conviction you are challenging:
United States District Court
Southern District of New York
SOG rearl Street
New York, New York 10007

 

 

 

 

 

(b) Criminal docket or case number (if you know): SZ 02 Cr 1564

2. (a) Date of the judgment of conviction (if you know): January 23, 2004
(b) Date of sentencing: dune 29, 2004

3. Length of sentence: Life without parole

 

4. Nature of crime (all counts):

16 USC 1962(c) RICO

16 USC 1962(d) Conspiracy to committ RICO

16 USC 1512(a)(1) (a) (A), and (2) Witness Tampering

1G USC 892 Conspiracy to make extortionate extensions of creait
16 USC 694 Conspiracy to collect extensions of credit by
extortionate means

 

 

5. (a) What was your plea? (Check one)
(1) Not guilty (2) Guilty [| (3) Nolo contendere (no contest) [|

6. (b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment,
what did you plead guilty to and what did you plead not guilty to?

 

6. Ifyou went to trial, what kind of trial! did you have? (Check one) Jurys | Judge only [ |
7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes [| No |

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Did you appeal from the judgment of conviction? Yes [|

If you did appeal, answer the following:

(a) Name of court: United States Court of Appeals
(b) Docket or case number (if you know): 04~3764 CR

(c) Result: Denied /

(d) Date of result (if you know): December 15, Zu06

(e) Citation to the case (if you know):

No[X |

 

(f) Grounds raised:

 

(g) Did you file a petition for certiorari in the United States Supreme Court?
If “Yes,” answer the following:

(1) Docket or case number (if you know):

 

(2) Result:

 

 

(3) Date of resuit Gf you know):

 

(4) Citation to the case (if you know):

 

(5) Grounds raised:

 

Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,

concerning this judgment of conviction in any court?
ves[_] No

If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court:

 

(2) Docket or case number (if you know):

 

(3) Date of filing Gf you know):

 

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(4) Nature of the proceeding:
(5) Grounds raised:

 

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes [| No [|

(7) Result:
(8) Date of result (if you know):

 

 

(b) If you filed any second motion, petition, or application, give the same information:

(1) Name of court:

 

(2) Docket of case number (if you know):
(3) Date of filing Gf you know):

(4) Nature of the proceeding:

(5) Grounds raised:

 

 

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application? a
Yes [ | No [|

(7) Result:

(8) Date of result (if you know):

 

(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,

or application?

(1) First petition: Yes [ | No [ |
(2) Second petition: Yes [| No [|

(d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:

 

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12. For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE:

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
A government witness by the name of Frank Gioia testified against
me Claiming I mace an admission to him. The subsequent facts
indicatea that Gicia testified at prior government proceedings
and his testimoney was witnheld from wy lawyers and from me. He
also testified at a hearing that he was interviewea by Assistant
Unitea States attorneys, agents of the FBI and tne government
tailea to turn over any 3024's or information as to these interviews
In addition it is alleged that while on the witness protection
program Frank Giola was engaged in criminal activities. This
information was forwarded to my attorney by on Robert Anglen, a
keporter with the Arizona New Republic. Gioia testified that he
nad testified in other trials and spoke to FEI agents and Assistant
Unitea States Attorneys on approximately 150 times. It is the
petitioner's submission that the government was obligated to turn
this evidence over to the defense but failed to do so thus given
rise to these proceedings. Please see Exhibit A, Trial minutes pos 668-

(b) Direct Appeal of Ground One: 069 and 670

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [ | No
(2) Ifyou did not raise this issue in your direct appeal, explain why:

Kindly see ricer

 

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [ | No
(2) If you answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes[_| No[ |

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Rider to Petition
Page 5

Question (b) (2)

It is my respectful submission the government was duty bound to turn over any and
all 302’s in their possession, in addition the reporter Robert Anglen told my attorney this
year that Frank Gioia who testified on behalf of the government had committed crime
while on the witness protection program. This vital information was withheld by the
government and was extremely important and in my opinion would have resulted in the
destruction of Gioia’s agreement and would have affected the outcome of my trial. This
was newly discovered evidence which did not come into our possession until March of

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(4) Did you appeal from the denial of your motion, petition, or application?

Yes [| No [|

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No [|

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) lf your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

GROUND TWO:

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

tt is my respectful submission that the withholding by the
yovernment of this information was saiisconduct and thus I am not
boung oy the ten year rule

(b) Direct Appeal of Ground Two:

(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes [| No [|

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(2) Ifyou did not raise this issue in your direct appeal, explain why:

 

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [| No| _|
(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes [ | No [|

(4) Did you appeal from the denial of your motion, petition, or application?

Yes [| No [|

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No [|

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number Gif you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

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GROUND THREE:

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

(b) Direct Appeal of Ground Three:

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [| No [ |

(2) Ifyou did not raise this issue in your direct appeal, explain why:

 

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes|_| No [|
(2) If you answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes [ | No [ |

(4) Did you appeal from the denial of your motion, petition, or application?

Yes [| No [|

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No [|

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(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND FOUR:

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

 

 

(b) Direct Appeal of Ground Four:
(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes [| No [|

(2) If you did not raise this issue in your direct appeal, explain why:

 

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes [ | No [|

(2) Ifyou answer to Question (c)(1) is “Yes.” state:

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Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No [|

(4) Did you appeal from the denial of your motion, petition, or application?

Yes [ | No [|

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No [|

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

 

13. Is there any ground in this motion that you have net previously presented in some federal court? If so, which
ground or grounds have not been presented, and state your reasons for not presenting them:

NONE

 

 

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4. Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the

ou are challenging? Yes No] x
¥ & x

lf“Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the

issues raised.

 

 

 

15. Give the name and address, if known, of each attorney who represented you in the following stages of the
judgment you are challenging:

(a) At the preliminary hearing:

 

 

 

(b) At the arraignment and plea: Anthony V. Lombardino, Eso.
TG1-05 Letterts Boulevard
ti, ck

Richmond Bi New York 11478

(c) AtthetriaAnthony V. bombarcino, sq. 1071-05 bef ferts Boulevard
- . . mite won oo fn tienaciwekcnmond AT NY. 11.
Christopher Chanc, Esq., 140 Broacwayenmcne aiiles Py lplA 19

 

(d) At sentencing: Anthony V. LOmparcino, ESG.

  
  

 

161-05 Lefferts Boulevard
_ Pt+ehbwend: BEL] New York LTA Ls _
at Nar RETIN LS too F ~ ¥¥
(e) On appeal: John Mitehell, Esq.
PO Box 163 a
Hecdfiorg,. Hew York TOo566

 

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(f) In any post-conviction proceeding:

 

(g) On appeal from any ruling against you ina post-conviction proceeding:

16. Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court

and at the same time? Yes [| No | ,

17. Do you have any future sentence to serve after you complete the sentence for the judgment that you are
challenging? Yes No

(a) Ifso, give name and location of court that imposed the other sentence you will serve in the future:

 

(b) Give the date the other sentence was imposed:

 

(c) Give the length of the other sentence:

 

(d) Have you filed, or do you plan to file. any motion, petition, or application that challenges the judgment or
sentence to be served in the future? Yes [| No [|

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18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

 

 

* The Antiterrorism and Effective Death Penalty Act of 1996 (“‘AEDPA”) as contained in 28 U.S.C. § 2255,
paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
from the latest of ~
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in violation of
the Constitution or laws of the United States is removed, if the movant was prevented from making such a
motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review; or
(4) the date on which the facts supporting the claim or claims presented could have been discovered
through the exercise of due diligence.

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Therefore, movant asks that the Court grant the following relief:

 

or any other relief to which movant may be entitled.

 

 

Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Motion
under 28 U.S.C. § 2255 was placed in the prison mailing system on

 

(month, date, year)

Executed (signed) on (date)

  

LEE
Silda Movant

If the person signing is not movant, state relationship to movant and explain why movant is not signing this motion.

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EXHIBIT A
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41GLDAI1 Gioia ~— cross
Q. Also, saving your neck from a life sentence was also, at
least, a little consideration, Mr. Gioia?
A. Sure.
Q. Okay. And as I asked you before, you realized that this
could come to fruition, that you might find yourself being on
trial with these other informants testifying against you?
A. Repeat the question?
Q. You knew that it was a distinct possibility that these
so-called informants that you have told us about could be
sitting where you're sitting and testifying against you, and
you didn't want that to happen, correct?
A. It's possible. I don't want to be in Louie's position
right now.
Q. You don't want £6 be in Louie's position right now?
A. No.
Q. And would you agree with me that that's quite obvious by
virtue of the things you did? Just yes or no.

MR. METZNER: Objection.

THE COURT: I'm not sure I understand your question.
A. I don't understand either.

Q. I'll withdraw it.

Now, I asked you yesterday approximately how many
times, when you say that you sat down with the prosecutors and
the FBI agents, relative to things you have told them. Do you
remember me asking you that question yesterday?

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' 41GLDATI Gioia - cross
A. I think I did, yeah.
Q. Could you tell us approximately back in 1997 or '98 how
many times you spoke to them then?
THE COURT: '97 and '98?
MR. LOMBARDINO: Yes, your Honor.
A. Which one's you talking about?
Q. The times that you sat down with the agents and
prosecutors, all of them. How many times?
THE COURT: He means any agent and any prosecutor.
Q. Any agents, any prosecutors.
A. I sat down with over 100 agents, and I guess it's safe to
say over 20 or 30 AUSA's, during the time of my debriefings.
Q. Would it be fair to say that you had a total of over 150
meetings back in 1997 with prosecutors and/or agents?
THE COURT: In that one year?
MR. LOMBARDINO: Up until 1997. I'm sorry.
Q. From 1995 till 1997, would it be fair to say that you had
approximately 150 meetings?
A. I can't put an exact number on it because I wasn't
counting. But it was a lot of meetings.
Q. And after 1997 and after a lot of these meetings, you still
continued, did you not, Mr. Gioia, to meet and speak with
osecutors and agents.

Yeah. That's what it says in my agreement.

 

And you have testified in other cases, have you not?

CY

 

  

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41GLDATI Gioia ~ cross

A. Yeah.

Q. And in those other cases, you told the members of the jury
about being inducted into the family, did you not?

A. Lucchese family.

Q. You told them that, didn't you?

A. Yeah.

Q. And you told them about this ceremony, the ritual, and what
you did to become a member, correct?

A. Yeah, I think I said that yesterday.

Q. And you told the jury, did you not, about the murders that
you committed?

A. Told them about the one murder If was involved with.

Q. You were involved in two murders now, weren't you? There
was the murder that you told us about yesterday ~- and I don't
want to go into that, where the man begged for his life and you
killed him. Then there was another murder that took place with
a murder of Taglianeti, isn't that so?

A. That's correct.

Q. And that was a murder that you were on a team and you told
us about this yesterday, that you took turns, 12-hour shifts,
correct?

A. That's correct.

Q. And if Mr. Taglianeti appeared on your shift, you were
going to kill him?

A. Yeah, I had to.

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Louis Daidone #39065-053

United States Penitentiary Allenwood
P.O. Box 3000
White Deer, PA 17887

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[2H T1duna

 
